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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                     EL PASO DIVISION

LEAGUE OF UNITED LATIN                             §
AMERICAN CITIZENS, et al.,                         §
                                                   §
                 Plaintiffs,                       §
                                                   §
EDDIE BERNICE JOHNSON, et al.,                     §        EP-21-CV-00259-DCG-JES-JVB
                                                                    [Lead Case]
                                                   §
                 Plaintiff-Intervenors,            §
                                                                             &
v.                                                 §
                                                   §             All Consolidated Cases
GREG ABBOTT, in his official capacity as           §
Governor of the State of Texas, et al.,            §
                                                   §
                 Defendants.                       §

                ORDER RULING ON THE LULAC PLAINTIFFS’ MOTIONS

       The LULAC Plaintiffs move for leave to:

       (1)       voluntarily dismiss one of their challenges in the above-captioned case;1

       (2)       amend their pleadings one last time before trial;2 and

       (3)       file a document under seal.3

The Court rules on those motions as follows.




       1
           See LULAC Pls.’ Mot. Amend, ECF No. 885, at 1.

        All page citations in this Order refer to the page numbers assigned by the Court’s CM/ECF
system, not the cited document’s internal pagination.
       2
           See id. at 1–2; see also LULAC’s Pls.’ Proposed 5th Am. Compl., ECF No. 885-1.
       3
           See LULAC Pls.’ Mot. Seal, ECF No. 886.


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                                         I.       DISCUSSION

A.      Motion to Voluntarily Dismiss Claims

        The Court first GRANTS the LULAC Plaintiffs’ Motion “to voluntarily dismiss their

claim challenging the redistricting of Congressional District 23 in enacted Plan C2193.”4 The

Court DISMISSES that challenge WITHOUT PREJUDICE.5

B.      Motion for Leave to Amend

        The Court also GRANTS the LULAC Plaintiffs’ Motion for Leave to file their Fifth

Amended Complaint.6 The Motion is timely because the LULAC Plaintiffs filed it before the

March 20, 2025 deadline that the Court set by order on March 12, 2025.7 As far as the Court can

tell, the LULAC Plaintiffs’ proposed pleading doesn’t raise any claims that would clearly be




        4
            See LULAC Pls.’ Mot. Amend at 1.
        5
        See id. at 1–2 (asking the Court to dismiss that claim “without prejudice”); id. at 3 (attesting that
Defendants “do not oppose the relief granting leave to dismiss claims without prejudice”).
        6
            See id. at 1–2; see also LULAC’s Pls.’ Proposed 5th Am. Compl..
        7
          See Order Setting Deadline File Mots. Leave Amend, ECF No. 877, at 1 (ordering “that any
Plaintiff Group that wishes to amend its pleadings before trial must move to do so before March 20,
2025”).

         Although the Court’s CM/ECF system suggests that the LULAC Plaintiffs belatedly filed their
Motion for Leave to Amend on March 21, 2025, that’s because the Western District of Texas displays
filing times in Central Time rather than Mountain Time. The Motion’s Notice of Electronic Filing
indicates that the LULAC Plaintiffs filed the Motion at 1:00 AM Central Time on March 21st, which is
12:00 PM Mountain Time on March 20th. El Paso is on Mountain Time, so the LULAC Plaintiffs timely
filed their Motion for Leave to Amend. See FED. R. CIV. P. 6(a)(4) (providing that the “last day” for
electronically filing a document ends “at midnight in the court’s time zone” (emphasis added)); see also
Charles v. Sanchez, No. 3:13-CV-00193, 2015 WL 808417, at *1 n.2 (W.D. Tex. Feb. 24, 2015)
(deeming filing timely under similar circumstances).


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futile under Fifth Circuit precedent.8 The Court will therefore permit the proposed amendment

over Defendants’ objections.9

C.       Motion for Leave to File Exhibit Under Seal

         Several of the LULAC Plaintiffs are organizations that have identified some of their

members pseudonymously in their Fifth Amended Complaint.10 The LULAC Plaintiffs move to

file those pseudonymous members’ true identities under seal.11




         8
          The Fifth Amended Complaint does contain two references to “coalition districts,” see
LULAC’s Pls.’ Proposed 5th Am. Compl. at 139, 152, which are no longer cognizable after the Fifth
Circuit’s en banc decision in Petteway, see Petteway v. Galveston County, 111 F.4th 596, 603 (5th Cir.
2024) (en banc) (holding that “Section 2 of the Voting Rights Act does not authorize” coalitions of
“separately protected minority groups to aggregate their populations for purposes of a vote dilution
claim”).

         However, the LULAC Plaintiffs aren’t basing their effects-based vote-dilution challenges on
impermissible multiracial coalitions; the references to “coalition districts” are only there to provide
context. See LULAC’s Pls.’ Proposed 5th Am. Compl. at 139 (mentioning a passing reference to
“coalition districts” in the legislative record); id. at 152 (alleging that it’s possible to redraw
Congressional District 6 such that Latinos by themselves would constitute a majority of the district’s
citizen voting-age population (52.5%), without compromising a neighboring district’s status as “a
minority coalition district”). The fact that the Fifth Amended Complaint mentions “coalition districts” in
passing thus doesn’t require the Court to deny the Motion to Amend.
         9
         See LULAC Pls.’ Mot. Amend at 3 (“With respect to leave to amend the complaint, State
Defendants stated that they maintain the objections to further amendment laid out in their previous
pleadings [sic] and do not waive those objections. State Defendants further stated that they understand
the Court has overruled those objections, and acknowledge that the Court’s order at ECF 877 authorizes
the proposed amendments.”).

         See also Order Granting MALC’s Mot. Leave Amend, ECF No. 891, at 1–2 (granting a different
Plaintiff Group’s Motion for Leave to Amend over Defendants’ objections for essentially the same
reasons).
         10
              See LULAC’s Pls.’ Proposed 5th Am. Compl. at 11–20, 39–42, 44–46, 48–50, 60–61, 68–70,
72–74.
         11
              See LULAC Pls.’ Mot. Seal.


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        The Motion to Seal is procedurally defective. As explained in a prior order,12 Western

District of Texas Local Rule CV-5.2(e) requires any “party moving to keep [a] document under

seal” to “serv[e] a copy of the sealed document on all counsel of record.”13 Because litigants

don’t automatically receive sealed documents when they’re filed on the electronic docket,14 Rule

CV-5.2(e) further provides that “[c]ounsel may not use the court’s electronic notice facilities to

serve the sealed . . . document.”15

        The Certificate of Service attached to the Motion to Seal nonetheless states that the

LULAC Plaintiffs served the Motion by “electronically submitt[ing]” it “via the Court’s

electronic filing system.”16 That doesn’t suffice under Rule CV-5.2(e).17 And because the

Certificate of Service contains no indication that the LULAC Plaintiffs served the Motion by

some other permissible method,18 the Court can’t be certain that Defendants or the other

Plaintiffs have seen the information that the LULAC Plaintiffs want to file under seal.19




        12
             See Order Ruling Texas NAACP’s Mots., ECF No. 896, at 4.
        13
             W.D. TEX. L.R. CV-5.2(e).
        14
           See Western District of Texas, Administrative Policies and Procedures for Electronic Filing in
Civil and Criminal Cases § 10(b) (“Sealed documents cannot be electronically accessed by attorneys or
the public. [A Notice of Electronic Filing] will be generated for the sealed document, but the document
will not be viewable. . . . Accordingly, parties may not use the Court’s electronic notice facilities to serve
sealed documents. Service must be by other means.”).
        15
             W.D. TEX. L.R. CV-5.2(e) (emphasis added).
        16
             See LULAC Pls.’ Mot. Seal at 6.
        17
             See supra note 15 and accompanying text.
        18
             See LULAC Pls.’ Mot. Seal, ECF No. 886, at 6.
        19
          See supra note 14 and accompanying text; see also Order Ruling Texas NAACP’s Mots. at 5
(denying a different Plaintiff Group’s Motion to Seal for the same reason).


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       The Certificate of Service is also defective for the additional reason that it contains the

wrong date. The Certificate erroneously states that the LULAC Plaintiffs “electronically

submitted a true and correct copy of” the Motion “via the Court’s electronic filing system on the

9th Day of June 2022”—nearly three years ago.20

       The Court will therefore deny the Motion to Seal without prejudice to the LULAC

Plaintiffs filing—and validly serving—a corrected motion within three business days.

                                        II.   CONCLUSION

       The Court GRANTS “LULAC Plaintiffs’ Opposed Motion to Voluntarily Dismiss

Claims and for Leave to File Their Fifth Amended Complaint” (ECF No. 885).

       The Clerk of Court SHALL DOCKET “LULAC Plaintiffs’ Fifth Amended Complaint

for Declaratory and Injunctive Relief” (ECF No. 885-1) with its own unique docket number as

the LULAC Plaintiffs’ operative pleading in this case.

       (The Clerk shall NOT assign a unique docket number to the redlined version of the Fifth

Amended Complaint at ECF No. 885-2.)

       The Clerk shall also DESIGNATE the following LULAC Plaintiffs as TERMINATED

PARTIES on the Court’s CM/ECF system:

       (1)       Emelda Menendez;

       (2)       Gilberto Menendez;

       (3)       Florinda Chavez; and

       (4)       Jeandra Ortiz.21



       20
            See LULAC Pls.’ Mot. Seal at 6.
       21
       See LULAC Pls.’ 5th Am. Compl. Redline, ECF No. 885-2, at 1, 94–95, 98 (indicating that
LULAC Plaintiffs deleted those parties from the caption and body of their complaint).


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       The Court DISMISSES the LULAC Plaintiffs’ challenge to Congressional District 23

WITHOUT PREJUDICE.

       The LULAC Plaintiffs’ other claims REMAIN LIVE. The remaining LULAC Plaintiffs

shall therefore REMAIN DESIGNATED as active plaintiffs in this case.

       Finally, the Court DENIES “LULAC Plaintiffs’ Opposed Motion for Leave to File

Exhibit Under Seal” (ECF No. 886) WITHOUT PREJUDICE to the LULAC Plaintiffs filing

and serving a corrected Motion to Seal in compliance with the Western District of Texas’s Local

Rules within three business days of this order.

       So ORDERED and SIGNED this 26th day of March 2025.




                                                  ____________________________________
                                                  DAVID C. GUADERRAMA
                                                  SENIOR U.S. DISTRICT JUDGE



                                        And on behalf of:

           Jerry E. Smith                                          Jeffrey V. Brown
     United States Circuit Judge               -and-          United States District Judge
 U.S. Court of Appeals, Fifth Circuit                          Southern District of Texas




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